      Case 3:00-cr-00048-LC-MD                  Document 1582   Filed 03/12/07   Page 1 of 2



                                                                                        Page 1 of 2


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF FLORIDA
                                    PENSACOLA DIVISION

UNITED STATES

         VS                                                        CASE NO. 3:00cr48/LAC/MD

PHILLIP NESMITH

                                                     ORDER

The Clerk has received your LETTER TO JUDGE DAVIS and has referred it to the
undersigned without filing because it has the following deficiencies:

         Your document is not properly captioned for this court. Every paper you file
         after the complaint must have the name of this court, the case style, the case
         number and the title of your pleading. The title should be a brief summary
         of the contents of the pleading or motion. The body of your pleading should
         state the nature of your request and what you want the court to do for you.
         You should not correspond with the court in letter form. Judges will
         not, as a matter of policy, respond to personal correspondence when
         it pertains to a pending case. This policy is in keeping with their sworn
         duty to maintain complete impartiality in the exercise of duties. Judicial
         decisions and opinions are, quite properly, only delivered in response to
         those legal instruments filed with the Clerk's office in accordance with
         governing rules of procedure.         The Court will return unfiled any
         correspondence addressed directly to a district judge or magistrate judge.

         The letter was submitted and signed by an individual who is neither a party
         nor counsel in this case.




Entered On Docket:                             By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies mailed to:




                                               Document No.
     Case 3:00-cr-00048-LC-MD        Document 1582       Filed 03/12/07   Page 2 of 2



                                                                                 Page 2 of 2


        For these reasons, IT IS ORDERED that:

        The clerk shall return the document to you without filing.

        DONE and ORDERED this 12th day of March, 2007.



                                           /s/   Miles Davis
                                           MILES DAVIS
                                           UNITED STATES MAGISTRATE JUDGE




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